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                                                                                                      FILED          ENTERED
                                  IN THE UNITED STATES DISTRICT COURT                          ::::::LOGGED.         RECBVED
                                      FOR THE ()JSTRICT OF MARYLAND

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    UNITED STATES OF AMERICA                                 *
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    v.                                                       *     Criminal Case No. RWT-04-0235
                                                             *
                                                             *
    LAVON DOBIE                                              *
-                                                            *
                                                             *
                                                             *
                                                           ORDER

              The Court        reduced   Lavon   Dobic's    scntence    from   170 months    to 152 months      on

    December      10.2014.      ECF No. 1729. That reduction will be elTective on November            I. 2015. Jd.

    On March 3. 2015. Dobie filed a Motion to Correct Sentence lECF No. 1761] stating that the

    Bureau of Prisons illegally increased her sentence to 156 months.              Dobie's motion appears to be

    based on a misunderstanding           of a Bureau of Prisons' document.       The Bureau of Prisons has not

    increased    Dobie's     sentence    to 156 months.     Rather. the Bureau of Prisons used a 156-month

    sentence to calculate her release date to be November              I. 2015. the elTective date of her sentence

    reduction.    Id. at 5. It appears that. on November         I. 2015. Dobie wi 1\ be released.   As Dobie has

    not sufTered the harm she claims to have sufTered. there is no basis felr her motion. and it will be

    denied.     Accordingly.     it is. this 21 st day of September. 2015. by the United States District Court

    for the District of Maryland.
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        ORDERED,    that Defendant's   Motion to Correct Sentence [ECF No. 1761] is DENIED;

and it is further

        ORDERED,    that the Clerk shall mail a copy of this Order to Defendant.



                                                                        /s/
                                                              ROGER W. TITUS
                                                       UNITED STATES DISTRICT JUDGE




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